             Case 2:02-cr-00195-ES               Document 330        Filed 04/08/13          Page 1 of 5 PageID: 917
AO 245 D (Rev. 03/01)- Judgment in a Criminal Case for Revocation


                                         UNITED STATES DISTRICT COURT
                                                       District of New Jersey

UNITED STATES OF AMERICA

        v.                                                               Case Number       2:2cr195-8

WALTER COVINGTON

       Defendant.

                                                JUDGMENT IN A CRIMINAL CASE
                                         (For Revocation of Probation or Supervised Release)
                                       (For Offenses Committed On or After November 1, 1987)


          The defendant, WALTER COVINGTON, was represented by Carol Gillen, AFPD.

         Violation number(s) 1,2, & 3 have been dismissed.

        The defendant admitted guilt to violation number(s) 1 as stated on the violation petition. Accordingly, the court has
adjudicated that the defendant is guilty of the following violation(s):

Violation Number                    Nature of Violation

 4                        'Alcohol/Drug testing and treatment'


       As pronounced on 8 April 2013, the defendant is sentenced as provided in pages 2 through § of this Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

         It is ordered that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments are fully paid. If ordered to pay restitution,
the defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
Unless modified by this judgment, all fines, restitution, costs, and special assessments previously imposed in the judgment filed on
9 February 2005 remain in full force and effect, if not already paid.

          Signed this the 1.__ day of April , 2013.




Defendant's SSN: ***-**-9068
Defendant's Date of Birth: October 1982
Defendant's address: lka: 152 Dodd St. East Orange, Nj
          Case 2:02-cr-00195-ES                   Document 330          Filed 04/08/13     Page 2 of 5 PageID: 918
AO 245 D (Rev. 03/01) - Judgment in a Criminal Case for Revocation


                                                                                                           Judgment- Page 2 of 5
Defendant:          WALTER COVINGTON
Case Number:        2:2cr195-8

                                                                IMPRISONMENT

        It is ordered and adjudged that the previously imposed term of supervised release is revoked and the defendant is hereby
committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of 6 months.

          The defendant shall remain in custody pending designation by the Bureau of Prisons.




                                                                     RETURN

          I have executed this Judgment as follows:




   Defendant delivered on~~~~~~~~~~~To~~~~~~~~~~~~~~~~~~~~~~
At~~~~~~~~~~~~~~~~~~~~~~~~_,wrth acertffied copy of this Judgment.



                                                                                   United States Marshal

                                                                                By~~~~~~~~~
                                                                                         Deputy Marshal
          Case 2:02-cr-00195-ES                  Document 330        Filed 04/08/13         Page 3 of 5 PageID: 919

AO 245 D (Rev. 03/01) -Judgment in a Criminal Case for Revocation


                                                                                                             Judgment- Page 3 of 5
Defendant:         WALTER COVINGTON
Case Number:       2:2cr195-8

                                                           SUPERVISED RELEASE

          Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 2 years.

         Within 72 hours of release from custody of the Bureau of Prisons, the defendant shall report in person to the Probation
Office in the district to which the defendant is released.

        While on supervised release, the defendant shall not commit another federal, state or local crime, shall be prohibited from
possessing a firearm or other dangerous device, shall not possess an illegal controlled substance and shall comply with the other
standard conditions that have been adopted by this Court (on the next page).

          The defendant shall submit to one drug test within 15 days of commencement of supervised release and at least two tests
          thereafter as determined by the probation officer.

         If this judgment imposes a fine, special assessment, costs, or restitution obligation, it shall be a condition of supervised
release that the defendant pay any such fine, assessments, costs, and restitution that remains unpaid at the commencement of the
term of supervised release and shall comply with the following special conditions:

While on supervised release, the defendant shall not commit another federal, state, or local crime, shall be prohibited from
possessing a firearm or other dangerous device, shall not possess an illegal controlled substance and shall comply with the other
standard conditions that have been adopted by this Court. The defendant must submit to one drug test within 15 days of
commencement of supervised release and at least two tests thereafter as determined by the probation officer.

In addition, the defendant shall comply with the following special conditions:

          ALCOHOL/DRUG TESTING AND TREATMENT

          You shall refrain from the illegal possession and use of drugs, including prescription medication not prescribed in your
          name, and the use of alcohol, and shall submit to urinalysis or other forms of testing to ensure compliance. It is further
          ordered that you shall submit to evaluation and treatment, on an outpatient or inpatient basis, as approved by the U.S.
          Probation Office. You shall abide by the rules of any program and shall remain in treatment until satisfactorily discharged
          by the Court. You shall alert all medical professionals of any prior substance abuse history, including any prior history of
          prescription drug abuse. The Probation Officer shall supervise your compliance with this condition.

          PROHIBITIONS ON GANG/CRIMINAL ASSOCIATIONS

         You shall refrain from associating with, or being in the company of, any members of any street gang, outlaw motorcycle
         gang, traditional or non-traditional organized crime group, or any other identified threat group. You shall be restricted from
         frequenting any location where members of said organizations are known to congregate or meet. You shall not have in your
         possession any item or paraphernalia which has any significance or is evidence of affiliation with said organizations.
          Case 2:02-cr-00195-ES                  Document 330        Filed 04/08/13         Page 4 of 5 PageID: 920

AO 245 D (Rev. 03/01)- Judgment in a Criminal Case for Revocation


                                                                                                              Judgment- Page 4 of 5
Defendant:         WALTER COVINGTON
Case Number:       2:2cr195-8

                                        STANDARD CONDITIONS OF SUPERVISED RELEASE

      While the defendant is on supervised release pursuant to this Judgment:

1)    The defendant shall not commit another federal, state, or local crime during the term of supervision.

2)    The defendant shall not illegally possess a controlled substance.

3)    If convicted of a felony offense, the defendant shall not possess a firearm or destructive device.

4)    The defendant shall not leave the judicial district without the permission of the court or probation officer.

5)    The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and
      complete written report within the first five days of each month.

6)    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.

7)    The defendant shall support his or her dependents and meet other family responsibilities.

8)    The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or
      other acceptable reasons.

9)    The defendant shall notify the probation officer within seventy-two hours of any change in residence or employment.

10)   The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute or administer any
      narcotic or other controlled substance, or any paraphernalia related to such substances.

11) The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.

12) The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
    convicted of a felony unless granted permission to do so by the probation officer.

13)   The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
      of any contraband observed in plain view by the probation officer.

14) The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
    officer.

15) The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
    the permission of the court.

16) As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
    criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
    confirm the defendant's compliance with such notification requirement.

(17) You shall cooperate in the collection of DNA as directed by the Probation Officer.

      (This standard condition would apply when the current offense or a prior federal offense is either a felony, any offense under
      Chapter 109A of Title 18 (i.e., §§ 2241-2248, any crime of violence [as defined in 18 U.S. C.§ 16], any attempt or conspiracy
      to commit the above, an offense under the Uniform Code of Military Justice for which a sentence of confinement of more than
      one year may be imposed, or any other offense under the Uniform Code that is comparable to a qualifying federal offense);

(18) Upon request, you shall provide the U.S. Probation Office with full disclosure of your financial records, including co-mingled
     income, expenses, assets and liabilities, to include yearly income tax returns. With the exception of the financial accounts
     reported and noted within the presentence report, you are prohibited from maintaining and/or opening any additional individual
     and/or joint checking, savings, or other financial accounts, for either personal or business purposes, without the knowledge
     and approval of the U.S. Probation Office. You shall cooperate with the Probation Officer in the investigation of your financial
     dealings and shall provide truthful monthly statements of your income. You shall cooperate in the signing of any necessary
     authorization to release information forms permitting the U.S. Probation Office access to your financial information and records;
           Case 2:02-cr-00195-ES                  Document 330           Filed 04/08/13        Page 5 of 5 PageID: 921

AO 245 D (Rev. 03/01) - Judgment in a Criminal Case for Revocation


                                                                                                                   Judgment- Page 5 of 5
Defendant:          WALTER COVINGTON
Case Number:        2:2cr195-8

(19) As directed by the U.S. Probation Office, you shall participate in and complete any educational, vocational, cognitive or any
     other enrichment program offered by the U.S. Probation Office or any outside agency or establishment while under supervision;

(20) You shall not operate any motor vehicle without a valid driver's license issued by the State of New Jersey, or in the state in
     which you are supervised. You shall comply with all motor vehicle laws and ordinances and must report all motor vehicle
     infractions (including any court appearances) within 72 hours to the U.S. Probation Office;

l _________ _ For Officiai_Yse Only- :....: U. S~robatio!!_ Office _ _ _ _ _ _ _ _ _ _j
    Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke
 supervision or (2) extend the term of supervision and/or modify the conditions of supervision.

    These conditions have been read to me. I fully understand the conditions, and have been provided a copy of
 them.

    You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any
 of his associate Probation Officers.
                                        (Signed) -----------=----:-------------=:-----
                                                          Defendant             Date



                                                        U.S. Probation Officer/Designated Witness           Date

 ----------------------------------~
